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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GEORGE LOPEZ, et al.,
Plaintiff, Civil Action No. 3:21-CV-1819

Vv. : Judge Connor
Magisterial Judge Mehalchick

JOHN WETZEL, et al.,

Defendants

ORDER
AND NOW, this ayn day of (et Niet , 2023, upon consideration of
the Corrections Defendants’ MOTION TO EXTEND DEADLINES SET FORTH IN
April 24, 2023 ORDER, it is hereby ordered that the Motion is GRANTED. All
deadlines in the April 24, 2023, Order are extended by a period of three (3) months.

BY THE COURT:

Kowtins Wdhabebich

